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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                   CIVIL MINUTES – JURY TRIAL
                                                  Day Four


   Case No.: 3:17CV00072                   Date: 10/28/2021

     Elizabeth Sines, et al                             Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                       Karen Dunn, Jessica Phillips, Alan Levine,
                                                        David Mills, William Isaacson
     v.
                                                        Counsel: James Kolenich, Bryan Jones,
     Jason Kessler, et al                               William ReBrook, Joshua Smith, David
     Defendant(s)                                       Campbell, Richard Spencer, pro se,
                                                        Christopher Cantwell, pro se

                                                        Dillon Hopper, pro se by Zoom




   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:08-
   10:00= 52min; 10:22-12:15= 1hr 53min; 1:30-2:30=1hr; 2:45-4:10=1hr 25min; 4:25-5:00=
   35min Total: 5 hrs 50 min
                 Deputy Clerk:       Heidi Wheeler/Susan Moody
                 Court Reporter:     Lisa Blair


                                          LIST OF WITNESSES

          PLAINTIFF                                          DEFENDANT
     1.                                                 1.



   PROCEEDINGS:
        12 jurors present, jury impaneled and sworn.
        Preliminary remarks and instructions to jury by Court.
        Opening Statements begun.

   Additional Information:
   Day Four

   Preliminary matters addressed by Court

   One juror sworn and testifies regarding call into the jury line, all parties satisfied.
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   9:24 Jury sworn

   Preliminary instructions to Jury by Court.

   Opening Statements begun with Ms. Dunn.

   Break

   Openining Statements continue. Ms. Kaplan concludes for plaintiffs.

   Break

   Defense Openinig Statements begin with Mr. Kolenich.
   Mr. Spencer

   Break

   Note from Jury

   Openings continue with Mr. Cantwell.
   Mr. Campbell
   Mr. Jones
   Mr. ReBrook
   Mr. Smith. Sidebar over demonstrative exhibits during opening.

   Court adjourned until 9:00 Oct 29, 2021.

   Issues addressed out of presence of jury.
